  Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 1 of 35




          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION



IN RE: EQUIFAX, INC. CUSTOMER            MDL DOCKET NO. 2800
DATA SECURITY BREACH                     1:17-md-2800-TWT
LITIGATION


    FINANCIAL INSTITUTION PLAINTIFFS’ MEMORANDUM
            OF LAW IN SUPPORT OF MOTION FOR
      FINAL APPROVAL OF CLASS ACTION SETTLEMENT
       Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 2 of 35




                                       TABLE OF CONTENTS
INTRODUCTION .....................................................................................................1
I.      BACKGROUND .............................................................................................2
        A.       Factual and Procedural Overview of the Litigation ..............................2
        B.       Negotiation of the Proposed Settlement ................................................4
II.     THE TERMS OF THE SETTLEMENT AGREEMENT................................5
        A.       The Settlement Class Definition ...........................................................5
        B.       The Direct Benefits to the Settlement Class .........................................6
                 1.       The Monetary Relief Made Available to Settlement Class
                          Members......................................................................................6
                 2.       Additional Security Measures .....................................................7
                 3.       Releases .......................................................................................7
                 4.       Administration Costs, Service Awards, Attorneys’ Fees,
                          and Expenses of Litigation..........................................................8
III.    THE IMPLEMENTATION OF THE NOTICE PROGRAM
        AND CLAIMS PROCESS ..............................................................................8
IV.     THE SETTLEMENT IS FAIR, REASONABLE, AND
        ADEQUATE AND SHOULD BE APPROVED ..........................................10
        A.       Legal Standard for Final Approval of a Proposed Class Action
                 Settlement ............................................................................................10
        B.       The Rule 23(e) Factors Are Satisfied ..................................................13
                 1.       The Class Was Adequately Represented ..................................13
                 2.       The Proposed Settlement Was Negotiated at Arm’s Length ....14
                 3.       The Relief Is Fair, Reasonable, and Adequate..........................14
                          a.        The Risks, Costs, and Delay of Continued Litigation ....15
                          b.        The Method of Distributing Relief Is Effective .............16
                          c.        The Terms Relating to Attorneys’ Fees Are
                                    Reasonable ......................................................................16
                          d.        Agreements Required to Be Identified by
                                    Rule 23(e)(3)...................................................................17



                                                           i
       Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 3 of 35




                  4.       Class Members Are Treated Equitably Relative to
                           Each Other.................................................................................17
         C.       The Settlement Satisfies the Bennett Factors ......................................18
                  1.       The Likelihood of Success at Trial ...........................................18
                  2.       The Range of Possible Recovery ..............................................19
                  3.       The Point on or Below the Range of Possible Recovery at
                           Which a Settlement Is Fair, Adequate, and Reasonable ...........20
                  4.       The Complexity, Expense, and Duration of the Litigation.......20
                  5.       The Substance and Amount of Opposition to the Settlement ...21
                  6.       The Stage of the Proceedings at Which the Settlement Was
                           Achieved ...................................................................................21
V.       THE COURT SHOULD CERTIFY THE SETTLEMENT CLASS .............21
         A.       The Rule 23(a) Requirements Are Satisfied. ......................................22
         B.       The Requirements of Rule 23(b)(3) Are Satisfied ..............................24
CONCLUSION ........................................................................................................25




                                                          ii
       Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 4 of 35




                                        TABLE OF AUTHORITIES

                                                                                                                   Page(s)

Cases
Adkins v. Facebook, Inc.,
  No. C 18-05982-WHA, ECF No. 261 (N.D. Cal. Nov. 26, 2019) ..................... 15

Agan v. Katzman & Korr, P.A.,
  222 F.R.D. 692 (S.D. Fla. 2004) ......................................................................... 25

Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) ............................................................................................ 24

Appleyard v. Wallace,
  754 F.2d 955 (11th Cir. 1985) ............................................................................ 23

Ault v. Walt Disney World Co.,
   692 F.3d 1212 (11th Cir. 2012) .......................................................................... 12

Bennett v. Behring Corp.,
  737 F.2d 982 (11th Cir. 1984) ................................................................10, 12, 18

Berman v. Gen. Motors, LLC,
   CASE NO. 2:18-CV-14371, 2019 WL 6163798 (S.D. Fla. Nov. 18,
   2019) ................................................................................................................... 21

Brown v. Electrolux Home Prods.,
   817 F.3d 1225 (11th Cir. 2016) ....................................................................22, 24

Carriuolo v. Gen. Motors Co.,
  823 F.3d 977 (11th Cir. 2016) ............................................................................ 24

Columbus Drywall & Insulation, Inc. v. Masco Corp.,
  258 F.R.D. 545 (N.D. Ga. 2007) ..................................................................12, 13

Family Med. Pharmacy, LLC v. Trxade Grp., Inc.,
  Civil Action No. 15-0590-KD-B, 2017 WL 1042079 (S.D. Ala.
  Mar. 17, 2017)..................................................................................................... 11




                                                             iii
       Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 5 of 35




First Choice Federal Credit Union v. Wendy’s Co.,
   Civil No. 2:16-cv-00506-NBF-MPK, 2019 WL 948400 (W.D. Pa.
   Feb. 26, 2019) ...............................................................................................16, 25

George v. Academy Mortgage Corp. (UT),
  369 F. Supp. 3d 1356 (N. D. Ga. 2019) .............................................................. 18

Hines v. Widnall,
   334 F.3d 1253 (11th Cir. 2003) .......................................................................... 23

In re Anthem, Inc. Data Breach Litig.,
    327 F.R.D. 299 (N.D. Cal. 2018)........................................................................ 25

In re Arby’s Rest. Group, Inc. Data Sec. Litig.,
    Case No. 1:17-cv-1035-WMR, 2019 WL 2720818 (N.D. Ga. June
    6, 2019) ............................................................................................................... 20

In re Chicken Antitrust Litig. Am. Poultry,
    669 F.2d 228 (5th Cir. 1982) .............................................................................. 10

In re Disposable Contact Lens Antitrust Litig.,
    170 F.R.D. 524 (M.D. Fla. 1996) ....................................................................... 23

In re Domestic Air Transp. Antitrust Litig.
    148 F.R.D. 297 (N.D. Ga. 1993) ........................................................................ 11

In re: Equifax, Inc., Customer Data Security Breach Litigation
    289 F. Supp. 3d 1322 (J.P.M.L. 2017) ................................................................. 3

In re Equifax Inc. Customer Data Security Breach Litigation,
    No. 1:17-md-2800-TWT, 2020 WL 256132 (N.D. Ga. Mar. 17,
    2020) .......................................................................................................18, 21, 23

In re: Equifax, Inc., Customer Data Security Breach Litigation,
    No. 1:17-md-2800-TWT (N.D. Ga.) .................................................................... 2

In re Home Depot Customer Data Sec. Breach Litig.,
    No. 1:14-md-02583, ECF No. 336-1 (N.D. Ga. Aug. 23, 2017) ........................ 19

In re Home Depot, Inc., Customer Data Security Breach Litig.,
    Case No.: 1:14-md-02583-TWT, 2017 WL 9605206 (N.D. Ga.
    Sept. 22, 2017) ........................................................................................15, 23, 24



                                                             iv
       Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 6 of 35




In re the Home Depot, Inc., Customer Data Security Breach
    Litigation,
    Case No.: 1:14-md-02583-TWT, 2016 WL 6902351 (N.D. Ga.
    Aug. 23, 2016) .................................................................................................... 21

In re Motorsports Merch. Antitrust Litig.,
    112 F. Supp. 2d 1329 (N.D. Ga. 2000) ............................................................... 11

In re Nissan Motor Corp. Antitrust Litig.,
    552 F.2d 1088 (5th Cir. 1977) ............................................................................ 11

In re Target Customer Data Sec. Breach Litig.,
    No. 0:14-md-02522, ECF No. 747-1 .................................................................. 19

Ingram v. Coca- Cola Co.,
   200 F.R.D. 685 (N.D. Ga. 2001) ........................................................................ 14

James D. Hinson Elec. Contracting Co., Inc. v. BellSouth Telecomm.,
  Inc.,
  275 F.R.D. 638 (M.D. Fla. 2011) ....................................................................... 22

McGaffin v. Argos USA, LLC,
  Civil Action File No.: 4:16-cv-00104-RSB-BKE, 2020 WL
  3491609 (S.D. Ga. June 26, 2020)...................................................................... 18

Terrill v. Electrolux Home Prods., Inc.,
   295 F.R.D. 671 (S.D. Ga. 2013) ......................................................................... 22

Veridian Credit Union v. Eddie Bauer LLC,
   2:17-cv-356, ECF No. 164-1 (W.D. Wash. Apr. 26, 2019) ............................... 19

Veridian Credit Union v. Eddie Bauer LLC,
   NO. 2:17-cv-00356-JLR, 2019 WL 5536824 (W.D. Wa. Oct. 25,
   2019) ................................................................................................................... 22

Williams v. Mohawk Industries, Inc.,
   568 F.3d 1350 (11th Cir. 2009) .......................................................................... 22

Statutes, Rules & Regulations
28 U.S.C. §1715(b) .................................................................................................... 9




                                                              v
       Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 7 of 35




Federal Rules of Civil Procedure
   23...................................................................................................................12, 18
   23(a) .................................................................................................................... 22
   23(a)(1) ............................................................................................................... 22
   23(b)(3) ........................................................................................................passim
   23(e) .............................................................................................................passim
   23(e)(2) ...................................................................................................12, 13, 17
   23(e)(2)(B) .......................................................................................................... 14
   23(e)(2)(C)’s ....................................................................................................... 14
   23(e)(3) ............................................................................................................... 17
   30(b)(6) ................................................................................................................. 4




                                                              vi
     Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 8 of 35




                                  INTRODUCTION

      The Financial Institution Plaintiffs1 (“Plaintiffs”) move under Rule 23(e) of

the Federal Rules of Civil Procedure for final approval of a class action settlement

between themselves and Defendants Equifax Inc. and Equifax Information Services

LLC (collectively, “Defendants” or “Equifax”). The proposed Settlement is an

excellent result and was only reached after nearly three years of hard-fought

litigation involving the filing of over twenty actions by financial institution Plaintiffs

and successive rounds of motion practice. Under the Settlement, Equifax will agree

to: (1) pay up to $5.5 million for settlement Class Members who submit valid claims;

(2) spend a minimum of $25 million over a period of two years towards adopting

and/or maintaining data security measures pertinent to the Plaintiffs and their claims;

(3) pay all reasonable settlement administration and notice costs; and (4) pay

reasonable, Court-approved attorneys’ fees, costs, expenses, and named Plaintiff

service awards, up to agreed-upon limits.

      The Court preliminarily approved this Settlement on June 4, 2020. ECF No.

1132. Notice has since been disseminated to all potential Settlement Class Members,

and the response has been overwhelmingly positive. With the deadline to file

objections or opt out of the Settlement having passed, no Class Member has objected


1
      All capitalized terms not defined herein have the meaning defined in the
Settlement Agreement and Release (“Settlement,” “Settlement Agreement,” or
“SA”) filed at ECF No. 1107-4.

                                            1
     Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 9 of 35




and only one Class Member has sought to timely opt out of participating in the

Settlement. Plaintiffs now move the Court to: (1) certify the Settlement Class under

Rules 23(b)(3) and 23(e); and (2) approve the Settlement as fair, reasonable, and

adequate. In support of this Motion, Plaintiffs refer to the Joint Declaration of Gary

F. Lynch and Joseph P. Guglielmo, which was submitted with Plaintiffs’ Motion for

Approval of Attorneys’ Fees, Expenses, and Service Awards (ECF No. 1157-1)

(“8/19/20 Jt. Decl.”); the Joint Declaration of Gary F. Lynch and Joseph P.

Guglielmo, which was submitted with Plaintiffs’ Motion for Preliminary Approval

of Class Action Settlement (ECF No. 1107-2) (“5/15/20 Jt. Decl.”); and the

Declaration of Christopher D. Amundson (“Amundson Decl.”) (Exhibit 1).

I.    BACKGROUND

      A.     Factual and Procedural Overview of the Litigation

      On September 7, 2017, Equifax Inc. announced that it had been the victim of

a criminal cyberattack (the “Data Breach”) on its computer systems in which the

attackers gained unauthorized access to the personal information of approximately

147 million U.S. individuals, including credit and debit card numbers (“Payment

Card Data”) from approximately 209,000 consumers.

      On December 7, 2017, the Judicial Panel on Multidistrict Litigation

transferred those cases to this Court for coordinated pretrial proceedings under the

case caption In re: Equifax, Inc., Customer Data Security Breach Litigation, No.



                                          2
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 10 of 35




1:17-md-2800-TWT (N.D. Ga.). See 289 F. Supp. 3d 1322 (J.P.M.L. 2017). The

Court appointed Co-Lead and Co-Liaison Counsel and a Plaintiffs’ Steering

Committee for the Financial Institution Cases. ECF No. 232.

      On May 30, 2018, Plaintiffs filed their Consolidated Amended Complaint (the

“Complaint”) against Equifax asserting claims for alleged negligence, negligence

per se, violations of various state unfair and deceptive trade practices statutes, and

injunctive and declaratory relief. ECF No. 390. On July 16, 2018, Equifax moved

to dismiss the Complaint (the “Motion to Dismiss”). ECF No. 435. The Court heard

oral arguments on the Motion to Dismiss on December 14, 2018, and on January 28,

2019, the Court issued an order granting in part and denying in part the Motion to

Dismiss. ECF No. 539, corrected at ECF No. 711.

      On March 20, 2019, Plaintiffs filed a Motion for Leave to Amend the

Complaint (ECF No. 648), which Equifax opposed on July 29, 2019. ECF No. 774.

On December 18, 2019, the Court issued an order granting in part and denying in

part the Financial Institutions’ Motion for Leave to Amend. ECF No. 941.

      During the litigation, the Parties engaged in significant motion practice and

discovery. In particular, Defendants’ Motion to Dismiss and Plaintiffs’ Motion for

Leave to Amend resulted in hundreds of pages of substantive briefing. 8/19/20 Jt.

Decl., ¶4. Plaintiffs served Equifax with a joint set of document requests and a

specific set of document requests relating to their claims, and Equifax produced



                                          3
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 11 of 35




millions of pages of documents, which Plaintiffs reviewed. Id. Additionally,

Plaintiffs subpoenaed approximately sixty third parties and obtained and reviewed

thousands of pages of documents from these third parties, including subpoenas

served on the major card brands (Visa, MasterCard, American Express, and

Discover) as well as other entities responsible for the investigation into the Data

Breach. Id. Finally, Plaintiffs took multiple depositions of current and former

Equifax employees and had numerous additional depositions, including a Rule

30(b)(6) deposition, noticed to occur at the time the Settlement was reached. Id.

      B.     Negotiation of the Proposed Settlement

      This Settlement resulted from good faith, arm’s-length settlement

negotiations, including multiple settlement conferences, both in-person and

telephonically, among counsel for the Parties, including a full-day mediation session

with Phillips ADR – a respected mediation firm which also facilitated the Consumer-

track settlement – on June 3, 2019. 8/19/20 Jt. Decl., ¶6. The Parties resumed

negotiations after the Court’s order granting in part and denying in part leave to

amend the complaint, including in-person negotiations on February 6, 2020, at which

time an agreement in principle was reached and memorialized in a term sheet. Id.,

¶7. The Parties did not discuss attorneys’ fees, costs, or expenses prior to agreeing

to the essential terms of the Settlement. Id., ¶8.




                                           4
      Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 12 of 35




II.     THE TERMS OF THE SETTLEMENT AGREEMENT

        A.    The Settlement Class Definition

        On June 5, 2020, the Court preliminarily approved certification of the

following Class pursuant to Fed. R. Civ. P. 23(b)(3), defined as:

        All Financial Institutions in the United States (including its Territories and the
        District of Columbia) that issued Alerted on Payment Cards (including debit
        or credit cards).

ECF No. 1133, Preliminary Approval Order (“PA Order”) at 2. The term “Alerted

on Payment Card” in the Class definition means

        [A]ny payment card (including debit or credit cards) that was identified as
        having been at risk as a result of the Data Breach in the following alerts or
        documents issued by Visa, MasterCard, Discover, or American Express: (i) in
        an alert in the MasterCard series ADC 004129-US-17 (e.g., ADC 004129-US-
        17-1, ADC 004129- US-17-2, ADC 004129-US-17-3); (ii) in an alert in the
        Visa series US-2017-0448-PA (e.g., US-2017-0448a-PA, US-2017-0448b-
        PA, US-2017-0448c-PA); (iii) in alert American Express Incident Number
        C1709012512; and (iv) in a similar notice issued by Discover, the recipients
        of which were identified by Discover in discovery in the Action.

SA, ¶2.1. Based on discovery, there are approximately 209,000 Alerted on Cards,

issued by approximately 2,904 Settlement Class Members. SA, ¶1.1; Amundson

Decl., ¶5. For settlement purposes only, the Parties agreed that the Court should

certify the aforementioned Settlement Class under Fed. R. Civ. P. 23(b)(3). SA,

¶3.1.




                                            5
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 13 of 35




      B.     The Direct Benefits to the Settlement Class

             1.     The Monetary Relief Made Available to Settlement Class
                    Members

      Under the Settlement, Equifax will pay, on a claims-made basis, up to a

maximum aggregate amount of $5,500,000 to an escrow account from which the

Settlement Administrator will make payments to Settlement Class Members who

submit approved Documented Out-of-Pocket Claims and/or Fixed Payment Claims,

as defined in the Settlement Agreement. SA, ¶4.3. Settlement Class Members may

make both Documented Out-of-Pocket Claims and Fixed Payment Claims so long

as such claims are not encompassed by one another. Id.

      For Fixed Payment Claims, Settlement Class Members who submit valid,

documented claims are eligible to receive $4.50 for each Alerted on Payment Card

they identify in their Claim Form. SA, ¶4.4(a)(ii)(1). For Documented Out-of-

Pocket Claims, Equifax will provide monetary consideration up to $5,000 for each

Settlement Class Member who submits valid, documented claims for reimbursement

of the following types of documented, unreimbursed out-of-pocket expenses

incurred directly as a result of, and specifically associated with, the Security

Incident: (1) fraud reimbursement amounts paid to customers for fraudulent activity

on Alerted on Payment Cards that occurred between July 6, 2017, and December 20,

2017; and (2) other direct, out-of-pocket expenses that a Settlement Class Member

attests to having incurred as a result of, and specifically associated with, the Security

                                           6
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 14 of 35




Incident between May 13, 2017, and December 20, 2017, as set forth in and subject

to the Claims Administration and Distribution Plan. SA, ¶4.4 (a)(ii)(2) & Ex. 1. In

the event the aggregate amount of all valid claims from Settlement Class Members

exceeds $5,500,000, Fixed Payment Claims shall be paid first and Documented Out-

of-Pocket Claims shall be pro-rated as set forth in the Claims Administration and

Distribution Plan. SA, ¶4.3 & Ex. 1.

             2.     Additional Security Measures

      In addition to monetary consideration, Equifax has agreed to spend a

minimum of $25 million to adopt and/or maintain certain measures with respect to

its U.S.-based businesses that regularly collect and hold United States consumers’

personally-identifying information (“PII”). SA, ¶¶4.8, 4.9.

             3.     Releases

      In exchange for the consideration provided by Equifax under the Agreement,

the Settlement Class Representatives, Settlement Class Members who do not timely

and validly exclude themselves, and their related entities will release Equifax and its

related entities from any claims that were or could have been asserted in the

Complaint, including, but not limited to, claims related to the Data Breach,

fraudulent use of any Alerted on Payment Cards, and any alleged damage to the

financial services “ecosystem” as alleged in the Complaint. SA, ¶9.1.




                                          7
       Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 15 of 35




              4.    Administration Costs, Service Awards, Attorneys’ Fees, and
                    Expenses of Litigation

        In addition to the monetary consideration made available to Settlement Class

Members, Equifax has agreed to pay the reasonable costs of notice and settlement

administration. SA, ¶¶2.9, 4.4(b)(i). In addition, subject to the Court’s approval,

Equifax will pay up to $1,500 to each of the twenty-one named Plaintiffs as a service

award (SA, ¶¶4.4(b)(ii), 10.1; see also ECF No. 1158), and will pay Class Counsel

up to $2,000,000 as attorneys’ fees, and up to $250,000 as reimbursement of

litigation costs and expenses. SA, ¶¶4.4(b)(iii), 10.2; see also ECF No. 1158.

III.    THE IMPLEMENTATION OF THE NOTICE PROGRAM AND
        CLAIMS PROCESS

        The Parties implemented the Court-approved Notice Program in coordination

with the approved Settlement Administrator, Analytics Consulting, LLC

(“Analytics”). PA Order at 5-6; Amundson Decl., ¶2. Using records obtained by

Class Counsel through third party discovery, Analytics created a database list of

Settlement Class Members and verified the addresses using multiple methods.

Amundson Decl., ¶5. This resulted in mailing address records for 2,904 Settlement

Class Members. Id. Analytics caused the Court-approved Notice and Claim Forms

to be sent via USPS first-class mail on July 6, 2020. Id., ¶6.

        As of September 21, 2020, USPS has returned 6 Notices with an updated

address for the Settlement Class Member (the period in which USPS automatically



                                          8
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 16 of 35




forwards the Notice had expired). Id., ¶7. Analytics re-mailed the Notices to these

Settlement Class Members at their updated addresses. Id. An additional two Notices

were returned by USPS as undeliverable. Id. Analytics was not able to locate new

addresses through a third-party commercial data source, Experian; both Notices

remain undeliverable.     Id.   Analytics estimates that Notice was successfully

delivered to over 99% of the Settlement Class. Id. Analytics also caused the

summary form of the Notice to be published in the digital edition of the ABA Banking

Journal for a period of 30 consecutive days, ending on August 5, 2020. Id., ¶8; see

also https://bankingjournal.aba.com/2020/07/26851/.

      Analytics established a Settlement Website, operational as of July 6, 2020,

where Settlement Class Members can review relevant pleadings, obtain Settlement

information and submit/upload Claim Forms electronically. Id., ¶¶9-10. The

Settlement Website has received visits from 1,373 unique users as of September 21,

2020. ¶10. Analytics also established a toll-free phone number to provide Settlement

Class Members with additional information regarding the Settlement through both

automated messages and live call center representatives. Id., ¶9. The toll-free number

became operational on July 6, 2020, and as of September 21, 2019, the number has

received 40 phone calls and 15 requests to speak with a customer service

representative. Id. In compliance with the Class Action Fairness Act (“CAFA”), 28




                                          9
      Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 17 of 35




U.S.C. §1715(b), Analytics served Notice of the proposed Settlement on the

appropriate state and federal authorities on May 29, 2020. Id., ¶3.

       Under the schedule established by the Preliminary Approval Order, the

deadline for Settlement Class Members to opt out from or object to the Settlement

was September 2, 2020, and the deadline for Settlement Class Members to submit

claims is December 31, 2020. PA Order at 7. One timely request for exclusion and

no objections were received by Analytics and is attached as Exhibit D to the

Declaration of Chris Amundson. Amundson Decl., ¶14.

       As of September 21, 2020, a total of 97 Claim Forms have been submitted by

Settlement Class Members. Amundson Decl., ¶13. The claims process is ongoing

and the deadline for filing claims is December 31, 2020. Id.; PA Order at 14.

IV.    THE SETTLEMENT IS FAIR, REASONABLE, AND ADEQUATE
       AND SHOULD BE APPROVED

       A.    Legal Standard for Final Approval of a Proposed Class Action
             Settlement

       Court approval is required for settlement of a class action. Fed. R. Civ. P.

23(e). A court’s analysis should be “informed by the strong judicial policy favoring

settlements as well as the realization that compromise is the essence of settlement.”

In re Chicken Antitrust Litig. Am. Poultry, 669 F.2d 228, 238 (5th Cir. 1982); see

also Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984) (“our judgment

is informed by the strong judicial policy favoring settlement as well as by the



                                         10
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 18 of 35




realization that compromise is the essence of settlement.”).

      In evaluating a proposed class settlement, “ʻabsent fraud, collusion or the like,

the Court should be hesitant to substitute its own judgment for that of experienced

counsel representing the class.’” In re Domestic Air Transp. Antitrust Litig. 148

F.R.D. 297, 315 (N.D. Ga. 1993).2 Indeed, “ʻ[s]ettlement agreements are highly

favored in the law and will be upheld whenever possible because they are a means

of amicably resolving doubts and uncertainties and preventing lawsuits.’” In re

Nissan Motor Corp. Antitrust Litig., 552 F.2d 1088, 1105 (5th Cir. 1977). Class

settlements are also favored because they minimize the parties’ expenses and reduce

the strain major litigation imposes upon already scarce judicial resources. See

Family Med. Pharmacy, LLC v. Trxade Grp., Inc., Civil Action No. 15-0590-KD-B,

2017 WL 1042079, at *5 (S.D. Ala. Mar. 17, 2017).

      Courts have broad discretion over the settlement approval process. See, e.g.,

In re Motorsports Merch. Antitrust Litig., 112 F. Supp. 2d 1329, 1333 (N.D. Ga.

2000). In exercising this discretion, courts in this Circuit analyze a settlement using

the so-called Bennett factors. These factors are: (1) the likelihood of success at trial;

(2) the range of possible recovery; (3) the range of possible recovery at which a

settlement is fair, adequate, and reasonable; (4) the anticipated complexity, expense,

and duration of litigation; (5) the opposition to the settlement; and (6) the stage of


2
      Unless otherwise indicated, citations are omitted and emphasis is added.

                                           11
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 19 of 35




proceedings at which the settlement was achieved. Bennett, 737 F.2d at 986. See,

e.g., Columbus Drywall & Insulation, Inc. v. Masco Corp., 258 F.R.D. 545, 558–59

(N.D. Ga. 2007); Ault v. Walt Disney World Co., 692 F.3d 1212, 1217 (11th Cir.

2012).

      Additionally, in 2018, Rule 23(e) was amended to set forth the requirements

a class action settlement must satisfy in order to be approved. The 2018 amendments

to Rule 23 make clear that the court should “[focus] on the primary procedural

considerations and substantive qualities that should always matter to the decision

whether to approve the proposal.” See Fed R. Civ. P. 23(e)(2), 2018 Advisory

Comm. Notes. While “[t]he relief that the settlement is expected to provide to class

members is a central concern,” id., the enumerated considerations include whether

(1) the class was adequately represented; (2) the settlement was negotiated at arm’s

length; (3) the relief is adequate, taking into account the costs, risks, delay of trial

and appeal; (4) how the relief will be distributed; the terms governing attorney’s

fees; and any side agreements; and (5) whether Class Members are treated equitably

relative to each other. Fed. R. Civ. P. 23(e).

      As discussed herein, Plaintiffs demonstrate that the Settlement both satisfies

the Rule 23(e)(2) factors and the Bennett factors and should be finally approved.




                                          12
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 20 of 35




      B.     The Rule 23(e) Factors Are Satisfied

             1.     The Class Was Adequately Represented

      The first requirement for approval of a settlement under Rule 23(e)(2)

involves two questions: “(1) whether the [class representatives] have interests

antagonistic to the interests of other class members; and (2) whether the proposed

class’s counsel has the necessary qualifications and experience to lead the litigation.”

Columbus Drywall & Insulation, Inc., 258 F.R.D. at 555.               Here, the Class

Representatives are adequate because they share the same interests as absent Class

Members, assert the same claims stemming from the same event, and share the same

injuries. 8/19/20 Jt. Decl., ¶18. Specifically, the Class Representatives and all Class

Members received an alert from Visa, Mastercard, American Express, and/or

Discover informing them that payment cards that they issued to customers had been

compromised. SA, ¶3.1.

      Moreover, Class Counsel have demonstrated that they have appropriate

qualifications through their actions in this case as well as when they applied to be

and were subsequently appointed Co-Lead Counsel for the Financial Institution

Plaintiffs. ECF Nos. 189 & 232. Plaintiffs’ interests align with each other and the

other Class Members, and the Class was more than adequately represented by Class

Counsel.




                                          13
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 21 of 35




             2.     The Proposed Settlement Was Negotiated at Arm’s Length

      Rule 23(e)(2)(B) requires that “the proposal was negotiated at arm's length.”

This settlement was negotiated at arm’s length over the period of months, a fact

supported by the terms of the settlement, the length and difficulty of the negotiations,

and the oversight of Phillips ADR as mediator. See generally Ingram v. Coca- Cola

Co., 200 F.R.D. 685, 693 (N.D. Ga. 2001) (the presence of “a highly experienced

mediator, lends further support to the absence of collusion”). Thus, there is no

evidence of collusion.

             3.     The Relief Is Fair, Reasonable, and Adequate

      Rule 23(e)(2)(C)’s mandate that any settlement be “fair, reasonable, and

adequate” requires consideration of the costs, risks, and delay of trial and appeal, the

effectiveness of the proposed method of distributing relief to the Class, and the terms

of the proposed award of attorneys’ fees. As stated above, a central concern is the

amount of relief available to the class, and in this case, the recovery to the class is

excellent in comparison with previous data breach settlements. Attached hereto as

Exhibit 2 is a chart summarizing the material terms of recent class action settlements

on behalf of financial institutions in data breach cases.      The Settlement here –

providing for up to $4.50 per alerted on card and up to $5,000 for fraud losses – is

clearly an excellent result as it provides monetary relief that is comparable to or even

more favorable than prior settlements found to be fair, reasonable, and adequate.



                                          14
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 22 of 35




                    a.    The Risks, Costs, and Delay of Continued Litigation

      At the time of the Settlement, a thorough factual and legal investigation had

been conducted, which included the review of over one million documents,

depositions of Equifax employees, and involved interviews and discussions with the

Settlement Class Representatives. 8/19/20 Jt. Decl., ¶18.

      As a result, Class Counsel were armed with sufficient knowledge of the law

and facts to fairly weigh the benefits of the Settlement against the potential of

continued litigation. The cost and delay of continued litigation are obviously

substantial. See, e.g., In re Home Depot, Inc., Customer Data Security Breach Litig.,

Case No.: 1:14-md-02583-TWT, 2017 WL 9605206, at *3 (N.D. Ga. Sept. 22, 2017)

(finding that “complexity, expense and likely duration of the litigation if the

settlement is not approved” weighed in favor of settlement). Equifax’s Motion to

Dismiss was granted as to part of the initial proposed class, and the Court denied in

large part Plaintiffs’ Motion to Amend the complaint.

      Class certification outside of the settlement context also poses a significant

challenge. See, e.g., Redacted Version of Order on Motion for Class Certification

and Motions to Strike, Adkins v. Facebook, Inc., No. C 18-05982-WHA, ECF No.

261 (N.D. Cal. Nov. 26, 2019) (denying motion to certify data breach damages class

under Rule 23(b)(3)). And, even if Plaintiffs would have prevailed on all those legal

issues, they faced the risks that proof of causation would be difficult, that discovery



                                          15
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 23 of 35




would not support their factual allegations, that a jury might find for Equifax on

disputed factual issues, or that an appellate court might reverse a Plaintiffs’ judgment

on any of several possible grounds.

                    b.     The Method of Distributing Relief Is Effective

      As described above and in the declarations supporting preliminary approval,

Class Members can easily file claims for monetary relief. Packets containing a long-

form notice with all pertinent information, a paper claims form, and information

about how to opt out or object to the settlement were mailed to all eligible class

members on July 6, 2020. Additionally, a settlement website has been live since

July 6, 2020 and allows Class Members to view important documents and file

claims.3 Those claiming out-of-pocket losses must supply documentation of the

loss, but such requirements are routine. Further, the Settlement Administrator in this

case is highly regarded and experienced in handling large class actions claims. See,

e.g., First Choice Federal Credit Union v. Wendy’s Co., Civil No. 2:16-cv-00506-

NBF-MPK, 2019 WL 948400, at *2 (W.D. Pa. Feb. 26, 2019) (approving Analytics,

LLC as settlement administrator in data breach settlement for financial institutions).

                    c.     The Terms Relating to Attorneys’ Fees Are Reasonable

      As described in their unopposed fee application, Plaintiffs requested that the

Court approve attorneys’ fees in the amount of $2,000,000. This figure represents,


3
      Available at https://equifaxfidatabreachsettlement.com/.

                                          16
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 24 of 35




at most, 25.8% of the constructive common fund created by the Settlement, or a

lodestar of 0.16, which supports the reasonableness of the requested attorney’s fees.

See FI Pls.’ Mem. of Law in Supp. of Mot. for Approval of Attorneys’ Fees,

Expenses and Service Awards at 2, ECF No. 1157 (“Plaintiffs’ Fee Br.”); 8/19/20

Jt. Decl., ¶12. As is fully set forth in that memorandum, this request is in accordance

with Eleventh Circuit precedent and is within the typical range of fee awards in cases

of similar type and complexity.

                    d.    Agreements Required to Be Identified by Rule 23(e)(3)

      The parties agreed that, upon request, they would submit to the Court, in

camera, the specific terms of a provision allowing Equifax to terminate the

Settlement if more than a certain number of Class Members opted out. This

provision has not been triggered, and thus does not affect the adequacy of the relief

obtained here.

             4.     Class Members Are Treated Equitably Relative to Each
                    Other

      Finally, Rule 23(e)(2) requires that the class members be treated equitably

relative to one another. This requirement can include evaluation of “whether the

apportionment of relief among class members takes appropriate account of

differences among their claims, and whether the scope of the release may affect class

members in different ways . . . .” Advsory Comm. Notes, 2018. Class Members are

treated equitably because they all are eligible to claim the same benefits provided by

                                          17
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 25 of 35




the Settlement if they meet the same requirements, including claiming fixed costs

for Alerted on Payment Cards and documented out of pocket costs incurred in

responding to the breach. See also In re Equifax Inc. Customer Data Security Breach

Litigation, No. 1:17-md-2800-TWT, 2020 WL 256132, at *9 (N.D. Ga. Mar. 17,

2020) (“As an initial matter, the class members all have similar claims arising from

the same event: the Equifax data breach. And as all class members are eligible to

claim the various benefits provided by the settlement if they meet the requirements,

they all are treated equitably under the settlement.”).

      C.     The Settlement Satisfies the Bennett Factors

      In addition to fulfilling the requirements for approval of a class action

settlement under Rule 23, the terms of this Settlement also satisfy the traditional

factors set forth by the 11th Circuit in Bennett, 737 F.2d at 986 (the “Bennett

factors”). See also McGaffin v. Argos USA, LLC, Civil Action File No.: 4:16-cv-

00104-RSB-BKE, 2020 WL 3491609 (S.D. Ga. June 26, 2020), George v. Academy

Mortgage Corp. (UT), 369 F. Supp. 3d 1356 (N. D. Ga. 2019). Those factors are

discussed below.

             1.     The Likelihood of Success at Trial

      As discussed above, Plaintiffs faced numerous obstacles to winning a trial on

the merits of this case. Moreover, the likelihood of success at trial required Plaintiffs

to succeed on their class certification motion and defeat any summary judgment



                                           18
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 26 of 35




motion filed by Equifax. The uncertainty surrounding the outcome of those motions

and success at trial weighs in favor of approving the settlement.

             2.    The Range of Possible Recovery

      Plaintiffs are not aware of any similar case that has been resolved at trial, and

Plaintiffs’ primary negligence claims would not provide for any fixed statutory

damage awards if successful, so estimating the Plaintiffs’ maximum possible

recovery with precision would likely require expensive expert analysis. However,

other approved settlements provide useful data on the range of recoveries achieved

in similar litigation. In Target and Home Depot, the settlements provided financial

institutions with $1.50 and $2.00 fixed per-card recovery, respectively, without

documentation of loss (with an option to obtain a percentage of documented losses).

See Settlement Notice, In re Target Customer Data Sec. Breach Litig., No. 0:14-md-

02522, ECF No. 747-1, Ex. A at 4-5 (D. Minn. Apr. 11, 2016); Joint Declaration of

Co-Lead Counsel, In re Home Depot Customer Data Sec. Breach Litig., No. 1:14-

md-02583, ECF No. 336-1 at 25 (N.D. Ga. Aug. 23, 2017). Other approved

settlements also provided approximately $2.00–$3.00 per card. See Settlement

Agreement, Veridian Credit Union v. Eddie Bauer LLC, 2:17-cv-356, ECF No. 164-

1 at 6, ¶33 (W.D. Wash. Apr. 26, 2019); Pls.’ Mem. in Supp. of Mot. for Final

Approval, First Choice Federal Credit Union v. The Wendy’s Company, 2:16-cv-




                                         19
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 27 of 35




506, ECF No. 186 at 19 (W.D. Pa. Oct. 7, 2019) (noting that distribution per card

would have been approximately $2.00 if claims rate had been 100%).

             3.    The Point on or Below the Range of Possible Recovery at
                   Which a Settlement Is Fair, Adequate, and Reasonable

      As is illustrated by the cases above and those listed in Exhibit 2, the relief

afforded by this settlement is well within the range of a possible recovery and

compares favorably to settlements in other data breach cases. Thus, the Settlement

clearly falls on the higher end of what has been recovered on a per-Class Member

basis in similar cases. As a result, the Court should find that these factors support

approval of the Settlement.

             4.    The Complexity, Expense, and Duration of the Litigation

      Data breach class actions typically require protracted motion practice

including motions for summary judgment; involved discovery proceedings,

including numerous reports and depositions of experts; and hearings related to these

proceedings. See, e.g., In re Arby's Rest. Group, Inc. Data Sec. Litig., Case No.

1:17-cv-1035-WMR, 2019 WL 2720818, at *3 (N.D. Ga. June 6, 2019). Although

the action has already entailed significant motion practice and discovery, several

major phases remained, including expert discovery, class certification, summary

judgment, and trial. Approval of the Settlement at this stage will provide efficient

relief to the Class, and spare the Parties further expenditures of time and money that

could have threatened the overall return available for Class Members

                                         20
     Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 28 of 35




             5.    The Substance and Amount of Opposition to the Settlement

      The deadline to file objections or opt out was September 2, 2020. There was

no opposition to the settlement and only one timely opt-out from the Settlement; this

factor weighs in favor of approval.

             6.    The Stage of the Proceedings at Which the Settlement Was
                   Achieved

      This factor measures whether “the parties ʻhad access to sufficient

information to adequately evaluate the merits of the case and weigh the benefits of

settlement against further litigation.’” Berman v. Gen. Motors, LLC, CASE NO.

2:18-CV-14371, 2019 WL 6163798, at *8 (S.D. Fla. Nov. 18, 2019). As detailed

above, the Settlement was not reached until after extensive motion practice and

discovery. Thus, the parties were well apprised of the facts and circumstances

affecting settlement.

      Analysis of Rule 23(e) and the Bennett factors demonstrates that the

settlement is fair, reasonable and adequate and meets the criteria for final approval.

V.    THE COURT SHOULD CERTIFY THE SETTLEMENT CLASS

      The Settlement Class should now be finally certified. Settlement classes are

routinely certified in data breach cases. See, e.g., Equifax, 2020 WL 256132; In re

the Home Depot, Inc., Customer Data Security Breach Litigation, Case No.: 1:14-

md-02583-TWT, 2016 WL 6902351 (N.D. Ga. Aug. 23, 2016); Veridian Credit

Union v. Eddie Bauer LLC, NO. 2:17-cv-00356-JLR, 2019 WL 5536824 (W.D. Wa.

                                         21
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 29 of 35




Oct. 25, 2019). This Court has already found that it likely would certify the class

when it preliminarily approved the settlement (PA Order at 1–2). As demonstrated

below, that decision should be made final.

      A.     The Rule 23(a) Requirements Are Satisfied.

      1.     Numerosity: Rule 23(a)(1) requires that a proposed settlement class be

“so numerous that joinder of all class members is impracticable.” The proposed

class consists of thousands of financial institutions (5/15/20 Jt. Decl., ¶6), which is

more than sufficient. See, e.g., James D. Hinson Elec. Contracting Co., Inc. v.

BellSouth Telecomm., Inc., 275 F.R.D. 638, 642 (M.D. Fla. 2011).

      2.     Commonality: “[c]ommonality requires ‘that there be at least one issue

whose resolution will affect all or a significant number of the putative class

members,’” Williams v. Mohawk Industries, Inc., 568 F.3d 1350, 1355 (11th Cir.

2009), and “is generally satisfied when a plaintiff alleges that defendants have

engaged in a standardized course of conduct that affects all class members.” Terrill

v. Electrolux Home Prods., Inc., 295 F.R.D. 671, 685 (S.D. Ga. 2013), vacated and

remanded on other grounds, Brown v. Electrolux Home Prods., 817 F.3d 1225 (11th

Cir. 2016). In this case, all members of the proposed class assert that they issued

payment cards that were compromised as a result of the Data Breach, and they bring

the same legal claims based on Equifax’s common conduct. All class members’

claims arise out of Equifax’s conduct resulting in the Data breach. Thus, the



                                          22
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 30 of 35




commonality requirement is met. See Equifax, 2020 WL 256132, at *12 (“Courts,

including this one, have previously addressed this requirement in the context of data

breach class actions and found it readily satisfied.”).

       3.    Typicality: the typicality requirement primarily focuses on whether the

21 named Plaintiffs’ claims “have the same essential characteristics” as claims of

other class members. See, e.g., Appleyard v. Wallace, 754 F.2d 955, 958 (11th Cir.

1985). The requirement is undemanding, In re Disposable Contact Lens Antitrust

Litig., 170 F.R.D. 524, 532 (M.D. Fla. 1996), requiring only some nexus between

the named plaintiffs’ claims and the common questions uniting the Class. See, e.g.,

Hines v. Widnall, 334 F.3d 1253, 1256 (11th Cir. 2003). Here, the claims of all class

members arise out of the same alleged misconduct by Equifax and are based on the

same legal theories, i.e., claims for negligence, negligence per se, negligent

misrepresentation, and claims under various state business practices statutes.

See, e.g., Home Depot, 2017 WL 9605206, at *3 (finding typicality requirement met

in financial institutions’ data breach litigation). Thus, the typicality requirement is

satisfied.

       4.    Adequacy of Representation: as noted above, Plaintiffs do not have any

interests antagonistic to other Class Members and have retained lawyers whom the

Court has already recognized are abundantly qualified and experienced, thus

satisfying the adequacy requirement. 8/19/20 Jt. Decl., ¶¶2, 13, 14.


                                          23
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 31 of 35




      B.     The Requirements of Rule 23(b)(3) Are Satisfied

      Rule 23(b)(3) requires that “questions of law or fact common to class

members predominate over any questions affecting only individual members,” and

that class treatment is “superior to other available methods for fairly and efficiently

adjudicating the controversy.” One part of the superiority analysis – manageability

– is irrelevant for purposes of certifying a settlement class. Amchem Prods., Inc. v.

Windsor, 521 U.S. 591, 620 (1997).

      Predominance:      the predominance requirement “tests whether proposed

classes are sufficiently cohesive to warrant adjudication by representation.” Id. at

623. “Common issues of fact and law predominate if they have a direct impact on

every class member’s effort to establish liability and on every class member’s

entitlement to . . . relief.” Carriuolo v. Gen. Motors Co., 823 F.3d 977, 985 (11th

Cir. 2016). Here, as in other data breach cases, common questions predominate

because all claims arise out of a common course of conduct by Equifax, and the only

individual issues involve damages, which rarely present predominance problems.

See, e.g., Home Depot, 2017 WL 9605206, at *3; Brown, 817 F.3d at 1239

(individualized damages generally do not defeat predominance). Further, the fact

that multiple state laws are implicated in this case does not defeat predominance:

“the idiosyncratic differences between state consumer protection laws are not

sufficiently substantive to predominate over the shared claims” for purposes of Rule



                                          24
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 32 of 35




23(b)(3). In re Anthem, Inc. Data Breach Litig., 327 F.R.D. 299, 315 (N.D. Cal.

2018). Here too, “Plaintiffs’ theories across these consumer-protection statutes are

essentially the same.” Id.

      Superiority: “[t]he inquiry into whether the class action is the superior method

for a particular case focuses on ʻincreased efficiency.’” Agan v. Katzman & Korr,

P.A., 222 F.R.D. 692, 700 (S.D. Fla. 2004); First Choice Federal Credit Union, 2019

WL 948400, at *1. Litigating the same claims of thousands of financial institutions

through individual litigation would obviously be inefficient.        The superiority

requirement thus is satisfied.

                                 CONCLUSION

      For the reasons set forth above, Plaintiffs request the Court grant Plaintiffs’

motion, finally approve the Settlement, and certify the Settlement Class for

settlement purposes.



Dated: September 21, 2020              Respectfully submitted,

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                                         25
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    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 34 of 35




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1D, the undersigned certifies that the foregoing complies

with the font and point selections permitted by L.R. 5.1B. This brief was prepared

on a computer using the Times New Roman font (14 point).

Respectfully submitted this 21st day of September, 2020.

                                            /s/ Joseph P. Guglielmo
                                            Joseph P. Guglielmo




                                       27
    Case 1:17-md-02800-TWT Document 1182-1 Filed 09/21/20 Page 35 of 35




                          CERTIFICATE OF SERVICE

      I hereby certify that on September 21, 2020, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system, which

will send notice of electronic filing to all counsel of record.


                                               /s/ Joseph P. Guglielmo
                                               Joseph P. Guglielmo




                                          28
